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U.S. Department of Justice

United States Attorney
Southern District of New York

The Jacob K. Javits Federal Building
26 Federal Plaza, 37th Floor
New York, New York 10278

January 15, 2025

By ECF
The Honorable Lewis A. Kaplan

United States District Court
Southern District of New York
500 Pearl Street

New York, New York 10007

Re: United States v. Samuel Bankman-Fried, 86 22 Cr. 673 (LAK)
Dear Judge Kaplan:

The Government writes to respectfully request that the Court extend the deadline for its
response to third-party ancillary petitions from the currently scheduled date of January 15, 2025
to January 31, 2025. The Government has been in discussions with the relevant parties in interest.
This extension will allow the parties more time to discuss and potentially facilitate a resolution of
the pending petitions instead of litigation. The Government has communicated with counsel for
Emergent Fidelity Technologies Ltd. (who filed their petition at Dkt. Nos. 446, 447), FTX Trading
Ltd. (Dkt, No, 450), and the MDL Plaintiff class (Dkt. No. 454), all of whom consent to the
extension of this deadline.

Respectfully,

MATTHEW PODOLSY

Chief Counsel to the Acting

United States Attorney

Attorney for the United States, Acting under
Authority Conferred by 18 U.S.C. § 515

By:__/s Thane Rehn
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